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November 16, 2023

|, Carl Nichols, claimant/creditor number P-0012681, is responding to docket 5136 for Case 17-
11375(BLS) of the Second joint Motion of Eric D. Green, in his capacity as Trustee of the
Takata Airbag Tort Compensation Trust Fund, and Joseph J. Farnan, Jr., in his capacity as
Trustee of the Reorganized TK Holdings Trust, for Entry of an order directing bifurcation of my
claim.

| firmly object to Joseph J. Farnan, Jr., in his capacity as Trustee of the Reorganized TK
Holdings Trust to Class 6 of my claim of $25,000 as insufficient information non-substantive.

Being a claimant for claim # 0012681, seeking to bifurcate my claim is understandable to share
the responsibility of both airbag manufactures and auto makers who install these faulty
components. Aside from that | object to Joseph J. Farnan, Jr., as Trustee of the Reorganized TK
Holdings Trust in objecting class 6 portion of my claim as insufficient information to determine
an allowable amount. | have provided many documents to prove my TK Holdings claims. | have
also attached additional documents below to ensure there's sufficient information to determine an
allowable amount.

Quick Facts:

In 2016, I was rear ended which caused my vehicle’s airbags to deploy violently striking me with
metal shrapnel in turn caused me to lose control of the vehicle and causing total loss damage. |
lost $6,773.68 in payments for my vehicle (terms)+ $1000 in down payment + plus $550 in
towing-(airbag shrapnel identified) for total amount of $8,323.68 for non-personal injury
damages (Exhibit A).

| showed receipts of the auto parts and Maintenace work as foundation bases to show monetary
items that were invested into the vehicle prior. | only had the vehicle for about two years and was
not aware of any risks from faulty airbags. If | had known, | would not have purchased such a
vehicle to put me and my family’s life in danger. I had about $10,000 medical loss for personal
injury. I did $6,676.32(this was an estimate because | didn’t know a specific value to place) for
mental anguish and the ordeal | endured in the aftermath of being traumatized when the metal
shrapnel struck me from the airbags. | had no knowledge that non personal injury and personal
injury should be separate hence adding everything together. This is how | produced my proof of
claim for $25,000.

In 2017, | received postal card via mail from TK Holdings Inc (Exhibit B) informing me that my
vehicle had been identified as a vehicle with one or more Takata manufactured airbag inflators
containing phase-stabilized ammonium nitrate propellant (PSAN inflators) which were defective
and could rupture creating personal injury. This began my process to start claims as it related to
faulty airbags in my vehicle and the damage they caused.
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At first, I didn’t break down the non-personal injury damages with the proof of claim because |
was unaware it was needed at that time. | object to my claim being disallowed and the courts
should hopefully recommend the RTKH Trust to make a modification to class 6 amount portion
that is fair and just in order to settle the class 6 components in the amount of $8,323.68 which
shows loss of economic value and not $0.00. If the RTKH needs any other documents to support
my claim as it relates to what | have already provided, | request more time to gather what is
needed to satisfy my claim.

Kind Regards
Carl Nichols
Ee Tt 1 x BLS Doc5147 Filed 11/21/23 Page 3of9
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Mack's Towing | N VO | C E

Ronald Mack Sr.

VG LIC
715 US-82

Greenville, Mississippi, 38/701
USA

Bill To:
invoice Date Oct 16, 2016

Carl Nichols
219 Oktibbeha St
Greenville, Mississippi, 38701

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Towing & Storage 1 400.00 400.00
Sub Total 400.00
TOTAL $400, 00

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Exhibit A Cie Petuse Loss)

Carl Nichols : Sse
219 Oktibbeha Street 3 LA,

Greenville, MS 38703

ANNUAL PERCENTAGE FINANCE CHARGE Amount Financed Total of Payments
RATE The dollar amount the credit The amount of credit

The amount | will have paid

provided to me or on my after | have made all

The cost of my credit as a will cost me.
behalf. payments as scheduled.

yearly rate.

9.549% $1,206.18 $5,567.50 _ $6,773.68

Amount paid tO ONers Ui tiiy worn.
$5,495.00 to Autospot Car Sales

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Other Charges Financed: $72.50

$27.50 VSI

$45,00 Fed Ex Fees
Total Financed Prepaid Finance Charges: $175.00
Note Principal: $5,742.50
Prepaid Finance Charges: $175.00

Financed: $175.00

$175.00 Processing Fee
$5,567.50

Amount Financed:

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AUTO Spot REPAIR INC

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CREDIT CARD
VISA SALE
CARD # COON 39g 7
INVOICE 0004 a
SEQ #: 0004
Batch #: 000017
Approval Code: . 054278
Entry Method: Manual
Mode: Gniline
Avs Code: YYY
SALEAMOUNT = $1000.00

CUSTOMER Copy

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yhibit B

In re: TK HOLDINGS INC.., ef al., Chapter 11 Case No. 17-11375 (BLS)
Debtors

IMPORTANT LEGAL NOTICE FOR OWNERS OF VEHICLES WITH TAKATA
AIRBAG INFLATORS

This Notice was authorized by a federal court. Read it carefully.
Your rights are at stake. —

Why have I received this notice? TK Holdings Inc. and certain of its affiliates listed on
the reverse side of this notice (collectively, the “Debtors”) have filed chapter 11
bankruptcy cases in the United States. The Debtors are subsidiaries of Takata Corporation,
a Japanes¢ corporation engaged in the manufacture and sale of airbag inflators and other
automotive components. Takata Corporation and its worldwide affiliates (including the
Debtors) are referred to collectively as “Takata.” Takata Corporation has filed a
i proceeding in Japan. This notice relates only to the Debtors located in the U.S.
and Mexico.

You have been identified as the current or former registered owner of a vehicle with one or
more Takata-manufactured airbag inflators containing phase-stabilized ammonium nitrate
propellant (“PSAN Inflators”), which are or may be defective and could rupture, creating a
risk of personal injury or death. This notice sets forth the deadline for asserting claims
against the Debtors in theskaigiimankruptcy proceedings and provides other important
deadlines and information about the chapter | 1 cases. If your vehicle contains a defective
or potentially defective airbag inflator and is under recall, contact your nearest
dealership immediately to schedule a free repair.

Do L have a claim against the Debtors? You (or, in the case of a wrongful-death claim,
the estate you represent) may have claims against the Debtors, including for monetary loss,
personal injury, or death (in each case, hatha past or future) on account of your current
or past ownership of a vehicle containing a PSAN Inflator regardless of whether such
PSAN Inflator is subject to a recall or has already been repaired or you have thus far
suffered no loss, injury, or death on account of your PSAN Inflator (as such claims may be
deemed to have accrued before the Debtors filed for bankruptcy). To assert a claim, you
must file a proof of claim by the deadline and in accordance with the instructions on the
reverse side of this notice. If vou fail to do so, your claim may be barred and you may
receive no recovery.

What else should I do? The Debtors strongly recommend that you:

Carefully review this notice, including the reverse side, in its entirety.

e Please visit www.AirbagRecall.com or call 1.888.327.4236 for more in formation about
obtaining free replacement airbags.

® Register your email address at TKRestructuring.com/PPIC. You will receive no further
notices in the chapter [1 cases unless you do so and may miss important information.

© Call 833-619-7579 (caienatl-free) or 920-238-6810 (international), email
tkppic@primeclerk.com, or visit TKRestructuring.com/PPIC if you have questions.

« Contact an attorney for legal advice concerning the chapter [1 cases.

TK Holdings Inc. Return Mail PRSRT STD
P.O. Box 3004 U8. POSTAGE
Monroe, WI 53566-3004 a
PRIME CLERK
00711

MTU

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20-B-0656441

CARL NICHOLS

219 OKTIBBEHA ST

GREENVILLE, MS 38703-3444

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TK19365845

Visit www. AirbagRecall.com to see if you’re at risk of
injury or death, or call 1.888.327.4236 for more
information about the safety of your vehicle.

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Commencement of Chapter 11 Cases. On June 25, 2017 (the “Petition Date”), Debtors Takata Americas; TK Finance, LLC; TK China, LLC; TK Holdings Inc.; Takata Protection Systems Inc.:
Interiors in Flight Inc.; TK Mexico Inc.; TK Mexico LLC: TK Holdings de Mexico S. de R.L, de C.V.; Industrias Irvin de Mexico, S.A. de C.V.: Takata de Mexico, $.A. de C.V.; and Strosshe-Mex,

S. de R.L. de C.V each filed a voluntary petition for relief under chapter 11 of the U.S. Bankruptcy Code in the U.S. Bankruptcy Court for the Dist. of Delaware. Filing of the chapter I! cases imposed
an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts from the Debtors or the Debtors ' property outside of the chapter 11 cases.

Restructuring Proceedings of Debtors’ Japanese Affiliates. Takata Corporation, Takata Kyushu Corporation, and Takata Service Corporation (collectively, “Takata Japan”) have commenced
proceedings under the Civil Rehabilitation Act (“CRA”) in Tokyo, Japan. Takata Japan has also sought recognition by the Bankruptey Court of its CRA proceedings under Chapter 15 of the
Bankruptcy Code, Parties who believe they have claims against Takata Japan can obtain information about the C RA proceedings at www.takata.com.

Further Notices. You should register your email address at TKRestructuring.convPPIC. You will not receive notice of any further documents filed in the chapter |] cases unless you do so. All
documents filed with the Bankruptey Court are available for inspection at the Office of the Clerk of the Court or free of charge at: TKRestructuring.com/PPIC.

Restitution Fund: Individuals who have suffered, or will suffer, personal injury caused by the malfunction of a PSAN Inflator may be eligible for compensation from Restitution Funds established by
order of the Federal Court for the E.D. of Michigan. The Court has appointed a Special Master, Prof. Eric D. Green, to administer the claimant compensation process and make recommendations
tegarding the distribution of funds. If you believe you may qualify for compensation from the Restitution Funds, please visit www.takataspecialmaster.com for further information.

Deadline for Filing Proof of Claim. December 27, 2017, at 5:00 p.m. (Eastern Time) (the “PPIC Bar Date”) is the last date and time to assert claims against any of the Debtors for monetary losses,
personal injuries (including death), or asserted damages arising out of or relating to an airbag containing a PSAN Inflator or their component parts manufactured or sold by Takata prior to the Petition
Date (a “PPIC Claim”). You must file a proof of claim for a PPIC Claim (a “PPIC Proof of Claim”) even if you are included in a class action lawsuit or other representative action filed against the
Debtors. Information about how to file a PPIC Proof of Claim, including the ability to file such claim electronically, is available at TKRestructuring.com/PPIC. If you fail to file a PPIC Proof of
Claim before the PPIC Bar Date: (a) you may be forever barred, estopped, and enjoined from asserting a PPIC Claim against the Debtors even if your loss or injury does not occur until
some point in the future; (b) the Debtors and their Property may be forever discharged from any and all indebtedness or liability with respect to such claim; and (c) you may not receive
any distribution in these chapter 11 cases on account of such claim. Filing a proof of claim submits a creditor to the jurisdiction of the Bankruptcy Court, with consequences a lawyer can explain.
The PPIC Bar Date does not apply to claims for personal injury or wrongfid death sustained afier the Petition Date arising from or relating to. a PSAN Inflator or its component parts manufactured
by Takata. This means that you may be entitled to seek a distribution under the Plan upon injury or death even if vou do not file a proof af claim by the PPIC Bar Date. However, vou will remain
subject to the other terms of the Plan including the releases, injunctions, and "sale free and clear" provisions described below—to the same extent as other holders of claims.

Plan and Disclosure Statement, The Debtors will soon file a chapter I plan of reorganization (the “Plan”) and accompanying disclosure statement (the “Disclosure Statement”). The Plan will
describe the proposed treatment of claims against, and interests in, the Debtors: the Disclosure Statement will provide information about the Plan and the Debtors, The Bankruptcy Court will hold
hearings to consider, and has set deadlines to object to, the adequacy of the Disclosure Statement and confirmation of the Plan.

* Disclosure Statement Hearing. January 3, 2018 at 10:00 a.m. (Eastern Time), with objections due no later than December 27, 2017, at 4:00 p.m. (Eastern Time);

* Confirmation Hearing, February 13, 2018 at 10:00 a.m, (Eastern Time), with objections due no later than February 6, 2018, at 4:00 p.m. (Eastern Time).

Carefully review the Plan and Disclosure Statement, available at: TK. Restructuring. com/PPIC. If vou register at TKRestructuring.com/PPIC, you will receive an electronic copy of the Plan and
Disclosure Statement and other notices. If you fail to register, this will be the only notice you will receive. The Pian will hind all creditors and interest holders upon its confirmation. If vou wish to
abject to the adequacy of the Disclosure Statement ar confirmation af the Plan, you must properly file and serve an objection by the applicable deadline listed above.

Discharge. Confirmation of the Plan may result in a discharge of debts of the Debtors, which may include all or a part of your debt. See [1 U.S.C. § 1L41(d). A discharge means that creditors may
never try to collect against the Debtors, except as provided in the Plan.

RELEASES. In addition to the discharge described above, the Plan will likely contain broad releases of third-party claims and related injunction provisions, If approved, these provisions
could release claims you hold against certain third parties, including the manufacturer of your vehicle and the Plan Sponsor (defined below). The foregoing is a summary only. You should
carefully review the full text of the Plan’s release, injunction, and related provisions and any applicable release “opt out” provision at TKRestructuring.com/PPIC.

SALE “FREE AND CLEAR.” The Debtors have proposed Joyson KSS Auto Safety §.A., together with one or more of its current or future subsidiaries or affiliates, as their “Plan
Sponsor,” The Plan will provide for the Plan Sponsor's acquisition of substantially all assets of the Debtors (with specified exclusions generally related to Takata’s PSAN Inflator business).
The Plan Sponsor will buy these acquired assets free and clear of all claims, liens, charges, encumbrances, and other interests {collectively, “Claims and Interests”), except for certain
specifically assumed liabilities, The Plan Sponsor will not assume any claims of the Debtors or Takata unless it expressly agrees to do so. Without limiting the foregoing, the Plan Sponsor is
not assuming any claims or liabilities related in any way to the PSAN Inflators (and the propellant), including PPIC Claims. Ifyou do not file an objection to the Plan with the Bankruptcy
Court by the deadline above, your right to challenge the sale of the Debtors’ assets “free and clear” of Claims and Interests and the related injunction will be forfeited. The Bankruptcy Court's
approval of the sale of the Debtors’ assets “free and clear” and the related injunction means that you will be forever barred from asserting any Claims and Interests against the Plan Sponsor
andor the Plan Sponsor's predecessors, successors, assigns, subsidiaries, affiliates, equity holders, current and former officers and directors, employees, agents, professionals, and various other
related persons, You should review the full text of this provision at TK Restructuring.com/PPIC,

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